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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Kyle Zak
                             Plaintiff,
v.                                                  Case No.: 1:17−cv−02928
                                                    Honorable Andrea R. Wood
Bose Corporation
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 27, 2020:


         MINUTE entry before the Honorable Andrea R. Wood: Plaintiff's motion for leave
to cite supplemental authority [105] is granted. The Court will consider Plaintiff's
supplemental authority and Defendant's response in connection with its ruling on
Defendant's motion to dismiss [83]. Mailed notice. (dal, )




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